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                                                                                            JS-6
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES − GENERAL

Case No.      2:21−cv−02134−CJC−E                   Date                  4/23/2021
Title         COLTON BRYANT V. ABIOLA A. DELU ET AL

Present : The Honorable CORMAC J. CARNEY, U.S. DISTRICT JUDGE

                Cheryl Wynn                                   Not Reported
                Deputy Clerk                           Court Reporter / Recorder


     Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
               None Present                                 None Present


Proceedings:         (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE
                     OF DISMISSAL

      The Court is in receipt of Plaintiff’s Notice of Dismissal of the entire action [14],
and hereby orders the case dismissed without prejudice. Further, the Court orders
all proceedings in the case vacated and taken off calendar.


                                                                           −      :     −
                                               Initials of Deputy Clerk: cw




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